Case 1:05-cr-00233-MR   Document 83   Filed 07/17/06   Page 1 of 7
Case 1:05-cr-00233-MR   Document 83   Filed 07/17/06   Page 2 of 7
Case 1:05-cr-00233-MR   Document 83   Filed 07/17/06   Page 3 of 7
Case 1:05-cr-00233-MR   Document 83   Filed 07/17/06   Page 4 of 7
Case 1:05-cr-00233-MR   Document 83   Filed 07/17/06   Page 5 of 7
Case 1:05-cr-00233-MR   Document 83   Filed 07/17/06   Page 6 of 7
Case 1:05-cr-00233-MR   Document 83   Filed 07/17/06   Page 7 of 7
